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UNITED STATES OF AMERICA,
        V.                           CRIMINAL NO. 1996-10047-MLW
GORDON ROBINSON,
    Defendant.

                ORDER AFTER
           APPEARANCE ON PETITION
        TO REVOKE SUPERVISED RELEASE

COLLINGS, U.S.M.J.
      The defendant appeared on March 16, 2010 pursuant to a petition
alleging that he violated the terms of his supervised release.
      The defendant was released on conditions of release. As a consequence,
he is not entitled to a preliminary hearing.
      The defendant is ORDERED to appear for a final revocation hearing
before Chief Judge Mark L. Wolf on Monday, April 10, 2010 at 10:00 A.M. at
the John Joseph Moakley United States Courthouse, Boston, Massachusetts.
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      All papers are RETURNED to the Clerk’s Office. The Clerk shall enter on
the docket the fact that the case “is no longer referred to Magistrate Judge
Collings.”

                       /s/ Robert B. Collings
                       ROBERT B. COLLINGS
                       United States Magistrate Judge



March 19, 2010.
